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                              UNITED STATES DISTRICT COURT FOR THE
 5                              WESTERN DISTRICT OF WASHINGTON
 6                                        AT TACOMA

 7
     UNITED STATES OF AMERICA,
 8
                                                    NO. CR18-5094BHS
                               Plaintiff,
 9
10                                                  PROTECTIVE ORDER
                         v.
11
     (1) DERRICK DONNELL TAYLOR-NAIRN,
12
     (2) JESSICA PLASCENCIA HERNANDEZ,
13   (3) JOSE MARGARITO MALDONADO,
14   (4) LEBRET MARQUIS RICHARDSON,
     (5) ANDREW LEIE YOUNG,
15   (6) LISA ANN ADAMS,
     (7) DAVID EARL BEEMAN,
16
     (8) IAN EDWARD DISTRITO,
17   (9) SHAINE RODNEY JARDINE,
18   (10) ARTHUR ALONZO JEFFERSON,
     (11) DE’ANDRE AARON JONES,
19   (12) SHANNON MARIE LEUPOLD,
20   (13) RIJAONA C. LASHAE LINDSEY,
     (14) LAURA ANN PALPALLATOC,
21   (15) SOURIYANH L. PASOMSOUK,
22   (16) CHAD MICHAEL STAHLMAN,
     (17) CORI NICOLE TROMBLEY,
23   (18) SERESA MAE WALTERS,
24   (19) CRYSTAL MARLENE WEAVER,
     (20) JACK NY YIM, and
25   (21) CRAIG ALLEN FELLERS, SR.
                      Defendants.
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     U.S. v. Taylor-Nairn, et al. / CR18-5094BHS                UNITED STATES ATTORNEY
                                                                1201 PACIFIC AVENUE, SUITE 700
     Protective Order - 1                                        TACOMA, WASHINGTON 98402
                                                                        (253) 428-3800
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 1          This matter comes before the Court on the United States’ Motion for a Protective
 2 Order regarding discovery materials, as permitted by Fed. R. Crim. P. 16(d). Having
 3 considered the record and files herein, the Court finds there is good cause to grant the
 4 motion, and hence:
 5          IT IS HEREBY ORDERED that the discovery materials discussed in the Motion
 6 for the Protective Order and referred to therein as “Protected Material,” marked specially
 7 as “Produced Subject to a Protective Order,” may be produced to counsel for the
 8 defendants in this case.
 9          IT IS FURTHER ORDERED that possession of Protected Material is limited to
10 the attorneys of record in this case, and to any investigators, expert witnesses, and other
11 agents the attorneys of record hire in connection with this case (collectively referred to as
12 “the defense team”). The defense team may review Protected Material with the
13 defendants, and the defendants may inspect and review Protected Material with the
14 defense team, but shall not be allowed otherwise to possess, photograph, or record
15 Protected Material.
16          IT IS FURTHER ORDERED that defense counsel shall not provide Protected
17 Material to any other person outside his/her law office, including the defendants. A copy
18 of the Protected Material shall not be sent to any defendant at the Federal Detention
19 Center, in either electronic form or hard copy.
20          IT IS HEREBY FURTHER ORDERED that the defendant, defense counsel, and
21 others to whom disclosure of the content of the Protected Material may be necessary to
22 assist with the preparation of the defense, shall not disclose the Protected Material or its
23 contents, other than as necessary for the preparation of defenses at trial and in subsequent
24 appellate proceedings, if necessary.
25          IT IS FURTHER ORDERED that if defense counsel finds it necessary to file any
26 documents marked as “Produced Subject to a Protective Order,” the material shall be
27 filed under seal with the Court.
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     U.S. v. Taylor-Nairn, et al. / CR18-5094BHS                          UNITED STATES ATTORNEY
                                                                          1201 PACIFIC AVENUE, SUITE 700
     Protective Order - 2                                                  TACOMA, WASHINGTON 98402
                                                                                  (253) 428-3800
              Case 3:18-cr-05094-BHS Document 325 Filed 05/14/18 Page 3 of 3




 1          Nothing in this Protective Order prohibits defense counsel from showing the
 2 Protected Material, or reviewing its contents, with the defendant or with others to whom
 3 disclosure may be necessary to assist with the preparation of the defense at trial and in
 4 subsequent appellate proceedings, if necessary.
 5          Nothing in this Protective Order prohibits defense counsel from disputing the
 6 designation of material as Protected Material and, if agreement cannot be reached
 7 between the parties, to seeking a determination by this Court.
 8          At the conclusion of the case, including any appellate proceedings, the Protective
 9 Material shall be returned to the United States, or destroyed, or otherwise stored in a
10 manner to ensure that it is not subsequently duplicated or disseminated in violation of this
11 Protective Order.
12          DATED this 14th day of May, 2018.
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17
                                                   A
                                                   BENJAMIN H. SETTLE
                                                   United States District Judge
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19 Presented by:
20
   s/Marci L. Ellsworth
21 MARCI L. ELLSWORTH
22 Assistant United States Attorney
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     U.S. v. Taylor-Nairn, et al. / CR18-5094BHS                                  UNITED STATES ATTORNEY
                                                                                  1201 PACIFIC AVENUE, SUITE 700
     Protective Order - 3                                                          TACOMA, WASHINGTON 98402
                                                                                          (253) 428-3800
